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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     DUBLIN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )            CR 315-013
                                              )
SUSAN ALLANA REGISTER                         )
                                          _________

                                          ORDER
                                          _________

       Before the Court are the various pre-trial discovery motions filed by Defendant.

Many (if not all) discovery issues should be addressed in full by the Court’s rulings below

and the liberal discovery policy that the government has confirmed it is applying in this case.

To the extent, if any, either party believes there are specific inadequacies in the discovery

exchanged to date that are not addressed below, the Court directs such party to confer in

good faith with the opposing party and file, if necessary, a discovery motion and supporting

brief within seven days from the date of this Order.

                           GENERAL DISCOVERY MOTION

       As to Defendant’s general discovery requests, Defendant does not allege any specific

inadequacies in the discovery provided by the government to date, presumably because of the

government’s statement that it has followed in this case its customary practice of providing

liberal discovery by furnishing Defendant with the investigative reports, scientific reports (if

any), and other documents which are material to the case, excepting attorney and agent work

product. (Doc. no. 173, p. 1.) All known statements by Defendant, as well as any criminal
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record, have also been provided. (Id. at 2.) Accordingly, the Court finds that the position of

the United States Attorney in permitting liberal disclosure of the government’s file pertaining

to this case renders the general discovery requests MOOT. (Doc. no. 125.)

         MOTION FOR ACCESS TO PROSPECTIVE GOVERNMENT WITNESSES

          Defendant seeks access to prospective government witnesses for the purpose of

interviewing such witnesses within a reasonable time prior to trial.            (Doc. no. 126.)

Although the government is not required to make its witnesses available, neither may it

interfere with defense counsel’s right to interview prospective witnesses. United States v.

Manor, 936 F.2d 1238, 1242 (11th Cir. 1991); United States v. Pepe, 747 F.2d 632, 654

(11th Cir. 1984). However, a government witness may refuse to be interviewed by defense

counsel. United States v. Bennett, 928 F.2d 1548, 1553-54 (11th Cir. 1991) (citing United

States v. Brown, 555 F.2d 407, 425 (5th Cir. 1977) and United States v. Benson, 495 F.2d

475, 479 (5th Cir. 1974)). Recognizing that the government does not “control” its witnesses

and does not oppose defense counsel’s contact with witnesses, the Court GRANTS the

motion to interview as to any witness who chooses to speak with defense counsel prior to

trial.

                  MOTION FOR LIST OF GOVERNMENT WITNESSES

          Defendant requests an order directing the government to furnish a complete list of

witnesses. In non-capital cases such as this case, a defendant is generally not entitled to a list

of government witnesses. United States v. Massell, 823 F.2d 1503, 1509 (11th Cir. 1987);

United States v. Johnson, 713 F.2d 654, 659 (11th Cir. 1983); United States v. Colson, 662

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F.2d 1389, 1391 (11th Cir. 1981). While this Court retains the right to exercise its discretion

in permitting Defendant to have access to a list of government witnesses, at most the

government would be required to comply with this request not more than fourteen days prior

to trial. Therefore, the Court DENIES this motion. (Doc. no. 127.) However, as a practical

matter, it would appear that Defendant will be receiving much of this information because of

the government’s liberal discovery policy and because of the government’s obligation to

disclose material pursuant to the Jencks Act and/or Brady v. Maryland, 373 U.S. 83 (1963).

                      MOTION FOR A BILL OF PARTICULARS

       Defendant is charged with one count of Conspiracy to Distribute and Possess with

Intent to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1) and 846,

and three counts of Use of a Communication Facility in Causing or Facilitating the charged

conspiracy, in violation of 21 U.S.C. § 843(b). Defendant filed this motion seeking from the

government information concerning the exact time and date the alleged crimes as set forth in

the indictment occurred; the specific nature of the acts Defendant is alleged to have

performed in furtherance of the allegations in the indictment; the acts of any other co-

defendant performed in furtherance of any conspiracy alleged in the indictment; and, the

names of any persons to whom Defendant may have made statements in reference to the

crimes alleged in the indictment. (Doc. no. 128, p. 1.)

       Rule 7(f) of the Federal Rules of Criminal Procedure provides that a defendant may

seek from the Court a bill of particulars setting forth the time, place, manner, and means of

commission of the crime alleged in the indictment. The purpose of the bill of particulars is to

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give notice of the offenses charged in the indictment so that a defendant may prepare a

defense, avoid surprise, or raise pleas of double jeopardy when the indictment itself is too

vague for such purposes. United States v. Anderson, 799 F.2d 1438, 1441 (11th Cir. 1986)

(quoting United States v. Cole, 755 F.2d 748, 760 (11th Cir. 1985)). Where necessary, the

bill of particulars supplements the indictment by providing the accused with information

necessary for trial preparation. Id. Generalized discovery is not a proper purpose in seeking

a bill of particulars. United States v. Warren, 772 F.2d 827, 837 (11th Cir. 1985) (quoting

United States v. Colson, 662 F.2d 1389, 1391 (11th Cir. 1981)). Nor is it a device intended

to secure for the defense the government’s explanation of its theory of the case. United

States v. Hajecate, 683 F.2d 894, 898 (5th Cir. 1982). Absent a showing that a defendant

cannot prepare a defense without the government providing the identity or identities of an

unindicted co-conspirator(s), such information need not be revealed in response to a motion

for a bill of particulars. Warren, 772 F.2d at 837.

       The determination of whether a bill of particulars should be ordered may only be

decided in light of the particular circumstances of each case. United States v. Davis, 582

F.2d 947, 951 (5th Cir. 1987). The question is committed to the sound discretion of the trial

court, whose decision will be reversed only where denial of the motion results in surprise to a

defendant at trial resulting in prejudice to her substantial rights. United States v. Hawkins,

661 F.2d 436, 451-52 (5th Cir. Unit B Nov. 1981). The indictment in the case is specific and

supports each of the requisite elements of the charged offenses. In addition, the government

has provided liberal discovery consisting of the investigative reports, scientific reports (if

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any), and other documents which are material to the case, excepting attorney and agent work

product. (Doc. no. 173, p. 1.) Because the government appears to have provided all

information essential for trial preparation by the defense, the Court DENIES Defendant’s

motion. (Doc. no. 128.)

                    MOTION FOR PRE-TRIAL JAMES HEARING

       Defendant moves for a pre-trial hearing to determine the admissibility of out-of-court

statements by alleged co-conspirators. To lay the proper foundation for admission of a co-

conspirator statement pursuant to Federal Rule of Evidence 801(d)(2)(E) and under the

standard enunciated in United States v. James, 590 F.2d 575, 582 (5th Cir. 1978) (en banc),

“the government must establish by a preponderance of the evidence: (1) that a conspiracy

existed, (2) that the defendant and the declarant were members of the conspiracy, and (3) that

the statement was made during the course and in furtherance of the conspiracy.” United

States v. Harrison, 246 F. App’x 640, 651 (11th Cir. 2007). However, as the trial court may

consider both co-conspirator statements and independent external evidence in making a

determination on admissibility, a pre-trial determination under James is not required. United

States v. Magluta, 418 F.3d 1166, 1177-78 (11th Cir. 2005); United States v. Van

Hemelryck, 945 F.2d 1493, 1497-98 (11th Cir. 1991). Thus, the required finding need not be

made pre-trial and can be made at the close of the government’s case in chief. United States

v. Johnson, No. 2:12cr84-MHT, 2012 WL 5392267, at *2 (M.D. Ala. Nov. 5, 2012) (citing

United States v. Sanchez, 722 F.2d 1501, 1507 (11th Cir. 1984)). Indeed, the Supreme Court

has ruled that a trial court may examine hearsay statements prior to admission when making

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a preliminary factual determination under Rule 801(d)(2)(E) and further explained, “the

judge should receive the evidence and give it such weight as his judgment and experience

counsel.” Bourjaily v. United States, 483 U.S. 171, 181 (1987) (citation omitted).

       As the need for a James hearing is lessened in light of Bourjaily, and in the interest of

judicial economy, this determination will be made at trial, if necessary. Therefore, the Court

DENIES the motion for a pre-trial James hearing. (Doc. no. 130.)

                        MOTION FOR DISCLOSURE OF
                  EXCULPATORY AND IMPEACHING MATERIAL

       Defendant seeks the disclosure of exculpatory and impeaching information in

accordance with the principles of Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v.

United States, 405 U.S. 150 (1972). (Doc. no. 131.) To some extent, Defendant’s requests

exceed the scope of the requirement in Brady for government disclosure of information that

is favorable to a defendant and material to the issues of guilt or punishment. Brady, 373 U.S.

at 87; United States v. Agurs, 427 U.S. 97 (1976). The Court GRANTS the motion to the

extent that the government must provide all Brady material to Defendant within five days of

the date it is received or its existence becomes known. The government must disclose

impeaching information not less than fourteen days prior to trial.

       MOTION TO COMPEL DISCLOSURE OF PROMISES OF IMMUNITY

       Defendant moves to compel disclosure by the government of any promises for

immunity, leniency or preferential treatment made to any prosecution witness, informant or

cooperating defendant, including copies of applicable indictments and plea agreements. The

government has agreed to provide this material to the defense pursuant to its continuing
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obligation under Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405

U.S. 150 (1972), (doc. no. 173, pp. 2, 5), thereby making this motion MOOT. (Doc. no.

133.)

          MOTION FOR EARLY DISCLOSURE OF JENCKS ACT MATERIAL

         The Jencks Act, 18 U.S.C. § 3500, requires the government to provide a defendant

with statements of witnesses immediately following their testimony in court. There is no

authority for the Court to grant an early release or disclosure of that material. United States

v. Schier, 438 F.3d 1104, 1112 (11th Cir. 2006); United States v. Jordan, 316 F.3d 1215,

1251 & n.78 (11th Cir. 2003); United States v. Jimenez, 613 F.2d 1373, 1378 (5th Cir.

1980). Yet because the government does not oppose the motion and early disclosure of

Jencks Act material will avoid unnecessary delay and inconvenience to the Court and jury,

the Court INSTRUCTS the government to provide Jencks Act material fourteen days prior

to trial. (Doc. no. 134.)

                MOTION TO ALLOW PARTICIPATION IN VOIR DIRE

         The Court GRANTS this motion. (Doc. no. 135.) Unless otherwise directed by the

presiding District Judge, counsel must submit to the Court, not later than seven days prior to

trial, a list of questions which they desire to ask prospective jurors.

                            MOTION TO PROVIDE TRANSCRIPTS
                             OF GRAND JURY PROCEEDINGS

         Defendant moves to disclose grand jury proceedings, including a transcript thereof.

“A defendant must show ‘particularized need’ to justify infringement of the secrecy

surrounding a grand jury. . . . Unsubstantiated allegations of grand jury manipulation do not
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satisfy the ‘particularized need’ standard.” United States v. Cole, 755 F.2d 748, 758-59

(11th Cir. 1985); United States v. Tucker, 526 F.2d 279, 282 (5th Cir. 1976); see also United

States v. Aisenberg, 358 F.3d 1327, 1348-49 (11th Cir. 2004) (recognizing requirement for

showing of “particularized need” to obtain disclosure of protected grand jury materials;

United Kingdom v. United States, 238 F.3d 1312, 1321-22 (11th Cir. 2001) (same). Because

Defendant has not attempted to show a particularized need for these records, the Court

DENIES the motion for disclosure of grand jury proceedings.1 (Doc. no. 137.)

              MOTION FOR NOTICE BY THE GOVERNMENT OF THE
             INTENTION TO RELY UPON OTHER CRIMES EVIDENCE
               PURSUANT TO FEDERAL RULE OF EVIDENCE 404(b)

       Defendant seeks notice of the government’s intention to use at trial evidence of “other

crimes, wrongs or acts” under Fed. R. Evid. 404(b). This motion is MOOT (doc. no. 138)

because the Court, in its Arraignment Order, directed the government to provide such notice

in accordance with the Local Rules.

  PRELIMINARY MOTION TO SUPPRESS/REQUEST FOR JACKSON v. DENNO
                           HEARING

       Defendant apparently filed this motion to preserve the right to particularize her

request for suppression of statements at a later date. (Doc. no. 139.) However, a motion may

not be filed outside the deadlines set at arraignment except by leave of court upon a showing

of cause. United States v. Smith, 918 F.2d 1501, 1509 (11th Cir. 1990); see Fed. R. Crim. P.


       1
         Defendant’s request may well be moot in light of the government’s statement that it
intends to provide the grand jury transcript at least one week prior to trial. (Doc. no. 173, p. 1.)


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12(c). Because the motion was filed without the supporting affidavit or evidentiary citations

required by Local Criminal Rule 12.1, the Court issued an order on January 29, 2016

instructing Defendant that if she intended to particularize her motion in accordance with

Local Criminal Rule 12.1, she must do so by February 10, 2016. (See doc. no. 170.)

Defendant failed to file a particularized motion, and this motion is a NULLITY. Should

Defendant desire to file a particularized motion in the future, she must adequately explain her

failure to timely file the same.

                                   DEMAND FOR JURY TRIAL

       The Court GRANTS this motion. (Doc. no. 140.)

                      MOTION TO DETERMINE EXISTENCE OF
                      CONFIDENTIAL INFORMANT OR SOURCE

       Defendant seeks disclosure of confidential informants. The government intends to

disclose, one week prior to trial, the identity of any informant used in the case, and if any

such informant is to testify at trial, the government will provide the witness-informant’s

criminal history and relevant materials under Giglio v. United States, 405 U.S. 150 (1972).

(Doc. no. 173, pp. 1, 5.)

       Where the informant was not an active participant in the criminal activity, disclosure

is not required. Roviaro v. United States, 353 U.S. 53, 61-63 (1957); United States v.

Gutierrez, 931 F.2d 1482, 1490-91 (11th Cir. 1991); United States v. Parikh, 858 F.2d 688,

696 (11th Cir. 1988); United States v. Moreno, 588 F.2d 490, 494 (5th Cir. 1979). To the

extent that it has not already done so, the government must disclose the identity of any

informant who played an active role in the criminal activity charged against Defendant at
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least fourteen days prior to trial.2 Such disclosure will ensure an adequate opportunity for

Defendant to prepare for trial and obviate any need for an in camera showing by the

government pursuant to Federal Rule of Criminal Procedure 16(d). See United States v.

Kerris, 748 F.2d 610, 614 (11th Cir. 1984) (re-iterating circuit precedent that in camera

hearing not automatically required when informant identity requested); United States v.

Acosta, 807 F. Supp.2d 1154, 1272-73 (N.D. Ga. 2011). The Court GRANTS Defendant’s

request for disclosure of informants, as set forth herein. (Doc. no. 144.)

       SO ORDERED this 11th day of February, 2016, at Augusta, Georgia.




       2
          If defense counsel determines she needs to apply for subpoenas based on information
provided about an informant, this fourteen-day time period should allow counsel sufficient time
to comply with this Court’s instructions to apply for subpoenas no later than ten work days prior
to trial. (See doc. no. 65, p. 3.)
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